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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                              FORT LAUDERDALE DIVISION


   JYLL BRINK, on her own behalf, and on
   behalf of those similarly situated,

         Plaintiff,                              CASE NO.: 15-CV-60334-
                                                 DIMITROULEAS/SNOW
   v.

   RAYMOND JAMES & ASSOCIATES, INC.,

         Defendant.
   _____________________________________/



   CALEB WISTAR and ERNEST MAYEAUX,
   on their own behalf, and on behalf of those
   similarly situated,
                                                 CASE NO.: 16-CV-60284-
         Plaintiffs,
                                                 DIMITROULEAS/SNOW
   v.

   RAYMOND JAMES FINANCIAL
   SERVICES, INC., and RAYMOND JAMES
   FINANCIAL SERVICES ADVISORS, INC.,


         Defendants.
   _____________________________________/




                       PLAINTIFFS’ MOTION FOR AWARD OF
                  ATTORNEYS’ FEES, COSTS, AND INCENTIVE AWARDS
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           Plaintiffs, JYLL BRINK, CALEB WISTAR, and ERNEST MAYEAUX (“Plaintiffs” or

   “Class Representatives”), by and through undersigned counsel, and pursuant to Federal Rule of

   Civil Procedure 23(h), move for an award of attorneys’ fees, costs, and incentive awards, and in

   support state:

       I. INTRODUCTION

           These matters collectively resulted in years of hard-fought litigation, two in-person

   mediation sessions, extensive pre-trial motion practice, extensive written discovery, production

   and review of hundreds of thousands of documents, multiple depositions, and two appeals.

   Pursuant to the Stipulation of Settlement, Plaintiffs and Class Counsel have secured a settlement

   that provides for $15,000,000.00 in monetary relief. Additionally, Defendants1 have agreed to

   significant non-monetary relief in the form of modification of disclosures made to customers

   such that the nature of the fees charged by Defendants is fully disclosed in the future.

           The relevant factors for an award of attorneys’ fees support the requested award in this

   case.   First and foremost, the terms of the settlement are an excellent result for the Classes,

   ending years of litigation and uncertainty for Class Members.       Class Counsel also spent more

   than 4436.6 hours of time and advanced $261,491.85 in costs, and did so facing significant

   uncertainty as to the ultimate outcome of these cases. Nevertheless, throughout the course of the

   litigation, Class Counsel persisted in diligently prosecuting these actions, which ultimately

   resulted in the relief that was received for the Classes.




   1
     Defendants are referred to herein as: Raymond James & Associates, Inc. (“RJA”), Raymond
   James Financial Services, Inc. (“RJFS”), Raymond James Financial Services Advisors, Inc.
   (“RJFSA”), and collectively “Defendants” and “Raymond James.”


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          The Class Representatives, who risked personal exposure but stepped forward to carry

   the mantle for the potential class members, also provided significant assistance to the litigation.

   Jyll Brink assisted with pre-suit factual development, responses to written discovery, attended

   hearings, sat for a deposition, and attended two mediation sessions. Likewise, Caleb Wistar and

   Ernest Mayeux assisted with discovery responses, attended mediation, and were ready and

   willing to be deposed had the latest mediation resulted in an impasse.

          Accordingly, Class Counsel now moves for an award of attorney’s fees, costs, and

   incentive awards to the Class Representatives.

      II. PROCEDURAL HISTORY

              A. The Brink Matter

           Jyll Brink filed her Complaint against RJA on February 17, 2015. [Complaint, D.E. 1.]

   The Complaint asserted a claim for breach of contract and a claim for negligence. Ms. Brink

   alleged that RJA charged its customers a Processing Fee and/or Miscellaneous Fee that far

   exceeded its actual costs to execute and clear the trades. Ms. Brink alleged that this practice was

   a breach of the terms of the Passport Agreements and violated RJA’s duties to its customers.

          RJA filed a motion to dismiss the Complaint, which was denied by the Court on June 29,

   2015. [Order Denying Motion to Dismiss Complaint, D.E. 27.] Thereafter, RJA filed its

   Answer and Affirmative Defenses on July 13, 2015. [Answer and Affirmative Defenses, D.E.

   34.] RJA then moved to dismiss the Complaint, arguing that the claims were pre-empted by the

   Securities Litigation Uniform Standards Act of 1998 (“SLUSA”). [Motion to Dismiss, D.E. 89.]

   The Court granted that motion on June 6, 2016, dismissing the case. [Order Granting Motion to

   Dismiss for Lack of Subject Matter Jurisdiction, D.E. 99.] Ms. Brink appealed the order. The

   United States Court of Appeals for the Eleventh Circuit reversed and remanded the case.




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          On September 18, 2018, Ms. Brink filed her First Amended Complaint. [First Amended

   Complaint, D.E. 124.]     RJA then filed its Answer and Affirmative Defenses to the First

   Amended Complaint on October 1, 2018. [Answer and Affirmative Defenses, D.E. 128.]

          Ms. Brink filed her motion for class certification on February 5, 2016. [Motion for Class

   Certification, D.E. 45.] The Court granted the motion on October 18, 2018. [Order Granting

   Motion for Class Certification, D.E. 133.]       RJA then filed a petition seeking to file an

   interlocutory appeal of this order with the Court of Appeals for the Eleventh Circuit, which was

   granted. Prior to reaching a settlement, the Parties briefed the appeal, except settlement occurred

   prior to the day RJA’s reply brief was due.

          After the class was certified, the Court directed that notice be sent to Class Members.

   [Order Approving of Proposed Class Notice, D.E. 144; Order Granting Motion for Approval of a

   Revised Class Notice, D.E. 147.] RJA provided a class list to Ms. Brink’s counsel consisting of

   over 28,000 names and addresses. [Notice Regarding Status of Sending Class Notice, D.E. 157.]

   The claims administrator has since mailed notice to nearly all those individuals on the class list

   provided by RJA. [Id.]

          Throughout the Brink matter, the Parties engaged in extensive discovery, including the

   production and review of hundreds of thousands of pages of documents from themselves and

   third parties; retained experts and other consultants who performed extensive work; obtained

   reports from the expert witnesses; and conducted depositions of the Parties and their expert

   witnesses. Additionally, the Parties engaged in extensive and vigorously contested briefing and

   hearings on the numerous motions to dismiss, and spent considerable time litigating the appeal

   and oral argument before the Eleventh Circuit regarding subject matter jurisdiction, as well as

   litigation related to RJA’s motion for summary judgment, and Ms. Brink’s motion for class




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   certification, which also involved an appeal that was fully briefed, except for RJA’s reply, and is

   currently pending and stayed pending final approval of this class action settlement.

               B. The Wistar Matter

          Caleb Wistar and Ernest Mayeaux filed their Complaint against RJFS and RJFSA on

   February 11, 2016. [Complaint, D.E. 1.] Like the claims brought in the Brink matter, Plaintiffs

   in the Wistar matter brought a breach of contract and negligence claim, alleging that RJFS and

   RJFSA charged Processing Fees and/or Miscellaneous Fees that far exceeded their actual costs to

   execute and clear trades.   Plaintiffs alleged that this practice was a breach of the terms of the

   Passport Agreements and violated the defendants’ duties to their customers.

          On March 29, 2016, RJFSA moved to dismiss the Complaint, while RJFS answered the

   Complaint. [Motion to Dismiss, D.E. 12; Answer and Affirmative Defenses, D.E. 13.]             Mr.

   Wistar and Mr. Mayeaux then filed a First Amended Complaint on April 19, 2016. [First

   Amended Complaint, D.E. 21.]       RJFS and RJFSA then moved to dismiss the First Amended

   Complaint on May 9, 2016. [Motion to Dismiss, D.E. 26.] The case was then stayed pending

   the outcome of the jurisdictional appeal in the Brink matter. [Order Granting Motion to Stay,

   D.E. 32.]   The case was reopened on July 24, 2016. [Order Reopening Case, D.E. 34.] Mr.

   Wistar and Mr. Mayeaux filed a Second Amended Complaint on August 8, 2016. [Second

   Amended Complaint, D.E. 38.] RJFS and RJFSA then moved to dismiss the Second Amended

   Complaint [D.E. 49], which was denied by the Court. [Order Denying Motion to Dismiss, D.E.

   69.]   RJFS and RJFSA then filed their Answer and Affirmative Defenses to the Second

   Amended Complaint. [Answer and Affirmative Defenses to Second Amended Complaint, D.E.

   70.]

          Throughout the Wistar matter, the Parties engaged in extensive and vigorously contested

   briefing on the numerous motions to dismiss, and they otherwise engaged in extensive discovery,


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   including the production and review of documents both from and independent of the Brink

   matter.

                C. The Settlement

             Earlier in the Brink case, the Parties participated in a full day of mediation with Joel

   Levine which resulted in an impasse, and then closer to trial convened a two-day mediation

   session in both cases with Glenn Waldman on April 4-5, 2019, at which the parties successfully

   reached a global settlement of both cases. The Parties then entered a Stipulation of Settlement

   memorializing the settlement terms, which is attached as Exhibit “A” to the Joint Motion for

   Preliminary Approval of Class Action Settlement and for Certification of the Settlement

   Subclasses.     [Joint Motion for Preliminary Approval of Class Action Settlement and for

   Certification of the Settlement Subclasses, D.E. 179 at Exhibit “A.”]

             In the Stipulation, Defendants agree to pay $15,000,000.00 as a lump sum to provide

   recovery to all settlement Class Members for the Processing Fees and Miscellaneous Fees

   charged during the Class Period, after expenses, including administrative expenses, taxes and tax

   expenses, incentive awards, and attorney’s fees and costs. Once these expenses are accounted

   for, each settlement Class Member will receive a cash payment (via check) for his/her/its share

   of the Net Settlement Amount pursuant to the formula for allocating the Settlement Fund to

   Class Members. No claim forms are required. Each Class Member will receive a check without

   taking any action.

             In addition to the cash payment, Defendants also agreed to revise the Passport Account

   Agreement terms and other disclosures and information provided thereafter to all current and

   existing Passport Account clients effective July 1, 2019, which revision will cure the deficiencies

   in the disclosures as alleged by the Plaintiffs.




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          Pursuant to the Stipulation of Settlement, Defendants take no position as to Class

   Counsel’s request for fees, costs, and the incentive awards.

      III.CLASS COUNSEL SHOULD BE AWARDED REASONABLE FEES, COSTS,
      AND PLAINTIFFS THE REQUESTED SERVICE AWARD

          For their extensive work, totalling 4436.6 hours of attorney and paralegal time over a four

   year period, Class Counsel seek an attorneys’ fee award of $6,000,000.00 and reimbursement of

   $261,491.85 in costs incurred prior to settlement. This attorneys’ fee award represents 40% of

   the Common Fund, created pursuant to this opt-out settlement.      Class Counsel further request

   future expenses and Administrative Expenses be paid from the Common Fund. This will amount

   to approximately $480,000.00 in costs to print and mail notice, maintain a website, maintain a

   telephone line for Class Members to call and receive additional information, and other Claims

   Administrator costs.

          Additionally, the Court should approve a $75,000.00 incentive award to Jyll Brink and a

   $25,000.00 incentive award to each of the other two Class Representatives, Caleb Wistar and

   Ernest Mayeaux. These awards will compensate the respective Class Representatives for their

   extensive work throughout the cases, as well as the risk of costs judgments that each of these

   individuals faced should the Defendants have prevailed.

              A. The Court Should Award Class Counsel Fees and Expenses

          Pursuant to Federal Rule of Civil Procedure 23(h), the Court may award reasonable

   attorneys’ fees and non-taxable costs that are authorized by law or the parties’ agreement. Fed.

   R. Civ. P. 23(h). The United States Court of Appeals for the Eleventh Circuit has further

   explained that “Attorneys in a class action in which a Common Fund is created are entitled to

   compensation for their services from the Common Fund, but the amount is subject to court

   approval.” Camden I Condo. Ass’n, Inc. v. Dunkle, 946 F.2d 768, 771 (11th Cir. 1991). Fees

   should be awarded as a reasonable percentage of the Common Fund. See id. at 773-74. Further,

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   “[t]here is no hard and fast rule mandating a certain percentage of a common fund which may

   reasonably be awarded as a fee because the amount of any fee must be determined upon the facts

   of each case.” Id. at 774. Generally speaking, the majority of fee awards are in the 20% to 30%

   range, but awards higher than this range are routinely awarded, and a 50% award may be an

   upper limit. Id. at 774-75.

           The Camden I court adopted several factors set forth in Johnson v. Georgia Highway

   Exp., Inc., 488 F.2d 714 (5th Cir. 1974) to be considered when determining the appropriate fee

   award. Camden I, 946 F.2d at 772 n.3. These factors are:

           (1) the time and labor required;
           (2) the novelty and difficulty of the questions involved;
           (3) the skill requisite to perform the legal service properly;
           (4) the preclusion of other employment by the attorney due to acceptance of the
           case;
           (5) the customary fee;
           (6) whether the fee is fixed or contingent;
           (7) time limitations imposed by the client or the circumstances;
           (8) the amount involved and the results obtained;
           (9) the experience, reputation, and ability of the attorneys;
           (10) the “undesirability” of the case;
           (11) the nature and the length of the professional relationship with the client;
           (12) awards in similar cases.

   Id.

           The Camden I court explained that additional factors may also be relevant to the award:

           [T]he time required to reach a settlement, whether there are any substantial
           objections by class members or other parties to the settlement terms or the fees
           requested by counsel, any non-monetary benefits conferred upon the class by the
           settlement, and the economics involved in prosecuting a class action. In most
           instances, there will also be additional factors unique to a particular case which
           will be relevant to the district court’s consideration. In order to facilitate this
           court’s review of the reasonableness of attorneys' fees calculated as a percentage
           of a common fund, the district court should articulate specific reasons for
           selecting the percentage upon which the attorneys' fee is based. The district
           court’s reasoning should identify all factors upon which it relied and explain how
           each factor affected its selection of the percentage of the fund awarded as fees.

   Id. at 775.


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       Considering each of the factors that are relevant to this case, the fee award is appropriate and

   supported.

                        i.   The Time and Labor Required

           The cases have required a large amount of resources to prosecute and have been pending

   for several years. The Brink matter was filed in 2015, and the Wistar matter was filed in 2016.

   As set forth in the attached declaration, Class Counsel collectively devoted 4436.6 hours of

   attorney time and paralegal time to the cases. See Manuel Garcia-Linares Declaration at ¶ 7, a

   copy of which is submitted herewith as Exhibit “A”; Eric Sodhi Declaration at ¶ 3, a copy of

   which is submitted herewith as Exhibit “B”; Sarah Hanley Declaration at ¶ 3, a copy of which is

   submitted herewith as Exhibit “C”; Lyle Shapiro Declaration at ¶ 3, a copy of which is submitted

   herewith as Exhibit “D”; Darren Blum Declaration at ¶ 3, a copy of which is submitted herewith

   as Exhibit “E.”

           These cases involved many hours of extensive motion practice, including multiple

   motions to dismiss, a motion for summary judgment, and briefing of the class certification issue.

   The Parties also engaged in extensive discovery, including the production and review of

   hundreds of thousands of pages of documents from themselves and third parties, retained experts

   and other consultants who performed extensive work, obtained             reports from the expert

   witnesses, and conducted depositions of the Parties and their expert witnesses.

           Class Counsel further spent a considerable amount of time handling two appeals. The

   first arose after the Court granted a motion to dismiss based upon lack of subject-matter

   jurisdiction.     The Court then granted class certification in the Brink matter, prompting

   Defendants to seek an interlocutory appeal, requiring significant time to brief. The United States

   Court of Appeals for the Eleventh Circuit then granted the petition, giving rise to additional




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    substantive briefing that was completed, except for Defendants’ reply that was due shortly after

    the time the settlement was reached.

                      ii.   The Novelty and Difficulty of the Questions Involved

           Besides one previous case against a different broker-dealer involving far fewer

    customers, which was handled by some of the Class Counsel in this case, Class Counsel is

    unaware of any other lawsuits brought anywhere in the nation dealing with the issues presented

    here; to wit, whether the Defendants’ breached their contractual obligations and acted negligently

    by charging a processing fee for trades that included a fee for the Defendants. The cases are

    therefore bellwether cases involving novel and untested legal theories.

           Moreover, as with most class actions, this action is complex, Cotton, 559 F.2d at 1331

    (“[C]lass action suits have a well deserved reputation as being most complex.”), and litigating

    these cases through trial and subsequent appeals would undoubtedly be time-consuming and

    expensive.   The cases also involved unique issues related to class certification, as evidenced by

    the Defendants’ petition for interlocutory appeal of the Court’s class certification order that was

    granted, which further demonstrates this factor weighs in favor of a fee award that is on the

    higher end of the acceptable range. See, e.g., Amason v. Pantry, Inc., No. 7:09-CV-02117-RDP,

    2014 WL 12600263, at *3 (N.D. Ala. July 3, 2014) (“Likewise, the case raised complex issues

    related to standing and class certification, infusing it with an air of legal difficulty and

    uncertainty. Under such circumstances, a fee award in excess of the benchmark is warranted.”).

           Likewise, the Court’s subject-matter jurisdiction was uncertain.         The Court granted

    Defendants’ motion to dismiss in which Defendants argued that the case was pre-empted by

    SLUSA. That decision was later reversed by the United States Court of Appeals for the Eleventh

    Circuit, demonstrating the complexity and difficulty of resolving that issue.




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                      iii.   The Skill Requisite to Perform the Legal Services Properly and the
                             Experience, Reputation, and the Ability of Class Counsel

            The complex issues in this case required multiple skilled lawyers that could handle

    various tasks, ranging from extensive briefing, discovery, oral argument and hearings, and

    appeals. Further, as previously noted by the Court when granting class certification of the Brink

    matter, “Plaintiff’s counsel has sufficient experience with class and complex litigation [to

    represent the class].” [Order Granting Class Certification, D.E. 135 at 13.]

            Class Counsel are indeed skilled at handling class actions as well as complex commercial

    litigation.   Day Pitney/Richman Greer, Herskowitz Shapiro, PLLC, Sodhi Spoont, PLLC,

    Hanley Law, P.A., and Blum Law Group are all firms comprised of highly competent and

    experienced litigators. Day Pitney/Richman Greer is a full service law firm with over 300

    lawyers nationwide.      It has represented plaintiffs and defendants including Fortune 500

    corporations in class actions and a plethora of other complex litigation. It maintains a robust

    federal practice and has been appointed class counsel on numerous occasions in both federal and

    state court. It is also very experienced in the defense of class actions, having handled many

    complex cases throughout the years in both federal and state court. Further, Hanley Law, P.A.

    and Blum Law Group are nationally recognized securities plaintiffs’ law firms, and the lawyers

    at Herskowitz Shapiro, PLLC and Sodhi Spoont, PLLC are accomplished litigators and former

    partners of Richman Greer, P.A., the predecessor firm to Day Pitney/Richman Greer.

            The results obtained in these matters further evidence the skill, diligence, and experience

    of Class Counsel. Despite the significant hurdles discussed above, the Parties settled with a

    substantial Common Fund being created as well as the non-monetary relief in the form of

    additional disclosures to Defendants’ customers.

            Moreover, the quality of Class Counsel and their achievement in this case is equally

    demonstrated by strength of their opponents. Buchanan Ingersoll & Rooney P.C. is a reputable

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    law firm known for the skill of their attorneys. This factor therefore further weighs in favor of

    the requested fee.

                         iv.   The Customary Fee

           Contingency fee awards are commonly between 30% to 40% of the recovery—meaning

    an award here of 40% falls squarely within the range of a contingency fee award with an

    individual client. See In re Checking Account Overdraft Litig., 830 F. Supp. 2d 1330, 1366 n35

    (S.D. Fla. 2011) (noting contingency fee awards are often 40% of the recovery); Francisco v.

    Numismatic Guar. Corp. of Am., No. 06-61677-CIV, 2008 WL 649124, at *14 (S.D. Fla. Jan. 31,

    2008)( “In private litigation, ‘attorneys regularly contract for contingent fees between 30% and

    40% directly with their clients.’”); George v. Acad. Mortg. Corp. (UT), 369 F. Supp. 3d 1356,

    1382 (N.D. Ga. 2019) (“Plaintiffs[’] request for approval of Class Counsel's 33% fee falls within

    the range of the private marketplace, where contingency-fee arrangements are often between 30

    and 40 percent of any recovery.”). Accordingly, this factor also supports the fee award.

                         v.    The Results Obtained for the Class

           A primary factor for the Court to consider is the result obtained on behalf of the Class.

    Hensley v. Eckerhart, 461 U.S. 424, 434 (1983) (explaining the “results obtained” is a crucial

    factor when determining a fee award); Behrens v. Wometco Enterprises, Inc., 118 F.R.D. 534,

    548 (S.D. Fla. 1988) (“The quality of work performed in a case that settles before trial is best

    measured by the benefit obtained.”).      In determining the benefit obtained, both monetary and

    non-monetary relief should be considered. Poertner v. Gillette Co., 618 F. App’x 624, 629 (11th

    Cir. 2015). The results obtained here, including $15,000,000.00 for a Common Fund that will be

    distributed to Class Members, as well as non-monetary relief requiring Defendants to make

    further disclosures to their customers, are excellent. On Plaintiffs’ best day in Court, the greatest

    possible monetary award that could be expected might have been two to three times the amount


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    of the monetary settlement, which could only be obtained if Plaintiffs prevailed on appeal of the

    class certification issue and prevailed at trial of both cases.   This settlement is thus a superb

    result for the class because it alleviates the uncertainty of continued litigation and the allows

    Class Members to receive relief now rather than several years in the future. See George, 369 F.

    Supp. 3d at 1379 (finding the results obtained by class counsel must be considered in light of the

    possibility of continued and uncertain litigation).

                      vi.    Awards In Similar Cases

           Courts have routinely awarded class counsel 33% or greater of a settlement fund in

    complex class actions such as this one. See Jernigan v. Protas, Spivok & Collins, LLC, No.

    ELH-16-03058, 2017 WL 4176217, at *8 (D. Md. Sept. 20, 2017) (awarding 40% of settlement

    fund); Chieftain Royalty Co. v. Laredo Petroleum, Inc., No. CIV-12-1319-D, 2015 WL 2254606,

    at *1 (W.D. Okla. May 13, 2015) (approving an attorney fee award of 40% of the settlement

    fund plus costs); Frank v. Eastman Kodak Co., 228 F.R.D. 174, 189 (W.D.N.Y. 2005) (awarding

    40% of settlement fund in a Fair Labor Standards Act case); Howes v. Atkins, 668 F. Supp. 1021,

    1024 (E.D. Ky. 1987) (awarding class counsel fees amounting to 40% of settlement fund).

           Within the Eleventh Circuit, district courts “routinely approve fee awards of 30% or

    greater.” Duque v. 130 NE 40th St., LLC, No. 14-23965-CIV, 2016 WL 7442797, at *3 (S.D.

    Fla. Jan. 27, 2016); Morgan v. Pub. Storage, 301 F. Supp. 3d 1237, 1252 (S.D. Fla. 2016)

    (approving a fee award of 33%); Waters v. Cook's Pest Control, Inc., No. 2:07-CV-00394-LSC,

    2012 WL 2923542, at *19 (N.D. Ala. July 17, 2012) (approving a fee award of 35%); Moultry v.

    Cemex, Inc., No. 8:07-cv-00453-MSS, Dkt. 145 (M.D. Fla. 2008) (awarding fee of 32.25% of

    common fund); In re Managed Care Litig. v. Aetna, MDL No. 1334, 2003 WL 22850070, at *6

    (S.D. Fla. Oct. 24, 2003) (awarding a fee of 35.5% of $310 million, including $6.5 million in




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    costs). Therefore, the requested fee here falls within the range of fee awards in other class

    actions.

                        vii.   Class Counsel Took Substantial Risk in Prosecuting These Actions

           As discussed above, these cases involve complex, novel issues that gave rise to two

    appeals, and substantial hurdles existed to obtain victory at trial in both cases.            Most

    immediately, Plaintiffs would have to have prevailed in the appeal of the class certification order.

    Assuming the appeal was resolved in favor of Plaintiffs, the class certification issue would then

    need to be briefed in the Wistar matter, and then both cases would have to be tried after engaging

    in significant additional discovery as no depositions had been taken in Wistar at the time

    settlement was attained and voluminous additional document production had been made.

               The court in Morgan v. Pub. Storage explained that these type of substantial risks should

    be considered when entering a fee award in a class action. See Morgan, 301 F. Supp. at 1253.

    “Without the ‘bonus’ from a contingency fee arrangement, ‘very few lawyers could take on the

    representation of a class client given the investment of substantial time, effort, and money,

    especially in light of the risks involved in recovering nothing.’” Id. This factor also weighs in

    favor of the requested fee award.

                       viii.   The Time Required to Reach a Settlement

           Class Counsel attempted to reach a settlement of the Brink matter by engaging in an early

    mediation. Despite these efforts, a suitable settlement could not be reached, and Class Counsel

    continued to prosecute these actions for several years until the recent mediated settlement

    agreement was obtained. The long period of time it took to reach the eventual settlement further

    supports the requested fee award. Cabot E. Broward 2 LLC v. Cabot, No. 16-61218-CIV, 2018

    WL 5905415, at *8 (S.D. Fla. Nov. 9, 2018) (explaining the fee award was supported because

    “despite Class Counsel’s efforts to accelerate the resolution of this proceeding, an early


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    settlement was neither advisable nor possible. This was not a case where counsel negotiated for a

    quick, cheap settlement. The settlement here came only after two years of vigorously-contested

    litigation, on the virtual eve of trial.”). Thus, this factor further supports the requested fee award.

                       ix.   Non-Monetary Relief

           In addition to the monetary relief, Defendants have agreed to modify the language of the

    Passport Account Agreement. The Passport Account Agreement terms and other disclosures and

    information provided thereafter to all current and existing Passport Account clients effective July

    1, 2019 will omit the following language:

           Processing Fees are not commissions but are to defray the expenses incurred in
           facilitating the execution and clearing of Client’s portfolio transactions. The
           actual expenses incurred by [Name of Entity] for any given transaction may be
           less than or greater than the Processing Fee.

           Defendants shall also include the following disclosure related to Processing Fees in

    Passport Account Agreements:

           The Passport Accounts are investment advisory accounts that include an advisory
           fee on the assets in your account and a per transaction charge (the "Transaction
           Fee") that generates additional revenue and may result in profit to Raymond
           James. The Transaction Fee is $15.00 per transaction, except for certain Non-
           Partner Mutual Fund purchases, which are subject to a $40.00 transaction fee.
           Transaction Fees do not apply to ERISA plans. The applicable standard advisory
           fee is reflected in the schedule below.

           This non-monetary relief provides significant benefit to the Settlement Classes by

    providing full disclosure of the nature of the fees incurred for transactions in the future. This

    non-monetary relief further supports the fee award in this case. Camden I, 946 F.2d at 772.

               B. The Court Should Award Class Counsel Their Costs and Direct
                  Administrative Costs to Be Paid Out of the Common Fund

           In addition to the fee award, upon submission of documentation, Class Counsel are

    entitled to the reimbursement of reasonable and necessary out of pocket expenses incurred in the

    course of activities that benefited the class. See Waters v. Int’l Precious Metals Corp., 190 F.3d


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    1291, 1298 (11th Cir. 1999).       Class Counsel has incurred $261,491.85 in costs for experts,

    mediation, Claims Administration costs in the Brink Matter prior to settlement, and travel and

    other expenses. See Manuel Garcia-Linares’ Declaration at ¶ 8 and accompanying exhibits;

    Sarah Hanley Declaration at ¶ 8 and accompanying exhibits.

            Pursuant to the Stipulation of Settlement, Class Counsel requests that the Court direct all

    future Administrative Expenses be paid out of the Common Fund. See Stipulation of Settlement

    at § 7.2. 2

                  C. The Court Should Award the Requested Incentive Awards to the Class
                     Representatives

            The Court should approve an incentive award of $75,000.00 to Jyll Brink, $25,000.00 to

    Caleb Wistar, and $25,000.00 to Ernest Mayeux.                 “In instituting this litigation, the

    Representative Plaintiffs have acted as private attorneys general seeking a remedy for what

    appeared to be a public wrong. It is well recognized that private class action suits are a primary

    weapon in the enforcement of laws designed for the protection of the public.” Pinto v. Princess

    Cruise Lines, Ltd., 513 F. Supp. 2d 1334, 1344 (S.D. Fla. 2007). Under these circumstances,

    courts have found it appropriate to specially reward named class plaintiffs for the benefits they

    have conferred. Id.

            Courts generally consider a series of factors in determining an incentive award,
            including: “(1) the actions the class representatives took to protect the interests of
            the class; (2) the degree to which the class benefited from those actions; and (3)
            the amount of time and effort the class representatives expended in pursuing the
            litigation.”

    Cabot, 2018 WL 5905415, at *9.



    2
     The Stipulation of Settlement is attached as Exhibit “A” to the Joint Motion for Preliminary
    Approval of Class Action Settlement and for Certification of the Settlement Subclasses. [Joint
    Motion for Preliminary Approval of Class Action Settlement and for Certification of the
    Settlement Subclasses, D.E. 179 at Exhibit “A.”]


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           The request for different fee awards amongst the Class Representatives reflects the

    additional amount of time that Ms. Brink devoted to the case due to the posture of the Brink

    litigation and the longer period of time the Brink matter was pending. While all three of the

    Class Representatives were diligent and committed to seeing the litigation through to trial, Ms.

    Brink was the first Plaintiff to initiate the suit, assisted with crafting the complaint and causes of

    action, assisted with voluminous written discovery, sat for a deposition, and attended multiple

    hearings and two mediation sessions. Mr. Mayeux and Mr. Wistar filed suit later and also

    substantially supported Class Counsel by assisting with the responses to written discovery and

    travelled to attend the mediation held in Florida.

           By assisting with the litigation, and attending and offering input at mediation, the three

    Class Representatives served a vital role in obtaining the settlement relief.         Therefore, the

    Classes benefited enormously from these Class Representatives’ efforts.                   The Class

    Representatives also took on personal financial risk by prosecuting these actions. If Defendants

    had prevailed, the Class Representatives could have been responsible for paying Defendants’

    costs. See Fed. R. Civ. P. 54 (d)(1).

           The $75,000.00 incentive award amounts to 0.5% of the Common Fund, and the

    $25,000.00 incentive awards amount to 0.1666% of the Common Fund. These awards fall well

    within the range of awards made in prior cases. See, e.g., Allapattah Servs., Inc. v. Exxon Corp.,

    454 F. Supp. 2d 1185, 1218 (S.D. Fla. 2006) (awarding 1.5% of the settlement fund collectively

    to class representatives as incentive awards); Morgan, 301 F. Supp. 3d at 1252 (awarding an

    incentive award of 0.2% of common fund); Cabot, 2018 WL 5905415, at *11 (approving an

    incentive award of $50,000.00 to each of the class representatives).




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       IV. CONCLUSION

           For the foregoing reasons, the Plaintiffs, JYLL BRINK, CALEB WISTAR, and ERNEST

    MAYEAUX, respectfully request that this Court: (a) award Class Counsel $6,000,000.00 in

    attorneys’ fees to be paid out of the Common Fund; (b) award $$261,491.85 for reimbursement

    of costs and direct all future costs be paid out of the Common Fund; and (c) award incentive

    awards of $75,000.00 to Jyll Brink, $25,000.00 to Caleb Wistar, and $25,000.00 to Ernest

    Mayeux to be paid out of the Common Fund.

                   CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1

           Pursuant to Local Rules 7.1(a)(3), undersigned counsel certifies that pursuant to the

    Stipulation of Settlement entered between the Parties, Defendants take no position with respect

    to the relief requested herein.   See Stipulation of Settlement at ¶ 8.1, attached as Exhibit “A” to

    the Joint Motion for Preliminary Approval of Class Action Settlement and for Certification of the

    Settlement Subclasses, D.E. 179.

           Dated: July 12, 2019                           Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

              I HEREBY CERTIFY that on July 12, 2019 a true and correct copy of the foregoing

    document was electronically filed with the Clerk using the CM/ECF filing system and served

    upon on all counsel of record or pro se parties below, either via transmission of Notices of

    Electronic Filing generated by the CM/ECF filing system or in some other authorized manner for

    those counsel or parties who are not authorized to receive electronically Notices of Electronic

    Filing:




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